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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-776V
                                      Filed: March 8, 2017
                                         UNPUBLISHED

****************************
ALAN KOZUKI,                              *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
v.                                        *      Influenza (“Fu”); Shoulder Injury
                                          *      Related to Vaccine Administration
SECRETARY OF HEALTH                       *      (“SIRVA”);
AND HUMAN SERVICES,                       *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Michael Milmoe, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On June 30, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination on October 24,
2015. Petition at 1-3. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On December 5, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for SIRVA. On March 8, 2017, respondent filed a proffer on
award of compensation (“Proffer”) indicating petitioner should be awarded $75,000.00.
Proffer at 1. In the Proffer, respondent represented that petitioner agrees with the
proffered award. Based on the record as a whole, the undersigned finds that petitioner
is entitled to an award as stated in the Proffer.
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $75,000.00 in the form of a check payable to
petitioner, Alan Kozuki. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
ALAN KOZUKI,                         )
                                     )
            Petitioner,              )  No. 16-776V
                                     )  Chief Special Master Dorsey
      v.                             )  ECF
                                     )
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
                                     )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On December 5, 2016, the Chief Special Master issued a Ruling on Entitlement

determining that petitioner was entitled to vaccine compensation for his Shoulder Injury Related

to Vaccine Administration (“SIRVA”). Respondent proffers that, based on the evidence of

record, petitioner should be awarded $75,000.00. This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment as described below, and requests that the Chief Special Master’s

decision and the Court’s judgment award the following: 1




1
 Should petitioner die prior to entry of judgment, respondent reserves the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.
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   A. A lump sum payment of $75,000.00 in the form of a check payable to petitioner, Alan
      Kozuki. This amount accounts for all elements of compensation under 42 U.S.C. §
      300aa-15(a) to which petitioner would be entitled.

      Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                   Respectfully submitted,

                                                   CHAD A. READLER
                                                   Acting Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   CATHARINE E. REEVES
                                                   Deputy Director
                                                   Torts Branch, Civil Division

                                                   LISA A. WATTS
                                                   Senior Trial Attorney
                                                   Torts Branch, Civil Division

                                                   /s/ Michael P. Milmoe
                                                   MICHAEL P. MILMOE
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Dated: February 8, 2017                            Fax:    (202) 616-4310
